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                  EXHIBIT A
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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF CONNECTICUT
                                   BRIDGEPORT DIVISION

------------------------------------------------------x
                                                      :
In re:                                                :   Chapter 11
                                                      :
HO WAN KWOK et al.,                                   :   Case No. 22-50073 (JAM)
                                                      :
                            1
                  Debtors.                            :   Jointly Administered
                                                      :
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THIRD AMENDED EMERGENCY ORDER UNDER BANKRUPTCY CODE SECTIONS
  102(1) AND 363 DIRECTING THE SHERRY-NETHERLAND, INC. TO RESTRICT
        ACCESS TO APARTMENT OWNED BY GENEVER HOLDINGS LLC

        Upon the emergency oral motion of Luc A. Despins, in his capacity as chapter 11 trustee

of Ho Wan Kwok (the “Trustee”), and Debtor Genever Holdings LLC (“Genever (US)”), to

restrict access to Apartment 1801, Apartment MR 2219, and Apartment MR 719 (collectively,

the “Sherry Netherland Apartment”) in the building located at 781 Fifth Avenue, New York,

New York 10022, made before the Court during a hearing held on March 15, 2023, and the Court

finding good cause therefor, and in light of statements made by the Trustee during the hearing it

is hereby

        ORDERED: Until further order of the Court (which order may be sought on 24 hours’

notice to the Trustee, Genever (US), and other parties in interest), only the following persons or

entities may have access to the Sherry Netherland Apartment: (i) the United States Department



1
    The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
    Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever
    Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The
    mailing address for the Trustee, Genever Holdings LLC, and Genever Holdings Corporation is Paul Hastings
    LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok
    (solely for purposes of notices and communications).
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of Justice and its employees and representatives; (ii) the Federal Bureau of Investigation and its

employees and representatives; (iii) the New York City Police Department and its employees and

representatives; (iv) the New York City Fire Department and its employees and representatives;

(v) other New York City agencies and their employees and representatives; (vi) the personnel of

The Sherry Netherland Inc. (the “Sherry Netherland”) and its counsel; (vii) persons consulted or

engaged by the Sherry Netherland for purposes of work related to restoration or remediation, or

contractors hired by the insurance carriers to conduct such restoration or remediation; (viii)

representatives of the applicable insurance carriers (but in such case not until prior written notice

to the Trustee, which notice may be by email and which notice may be waived by the Sherry

Netherland under exigent circumstances, and as accompanied by Sherry Netherland personnel);

(ix) the sales officer appointed in Genever (US)’s chapter 11 case (the “Sales Officer”), as

accompanied by personnel of the Sherry Netherland; (x) prospective buyers of the Sherry

Netherland Apartment, as authorized by the Sales Officer, and as accompanied by personnel of

Genever (US)’s real estate broker, Sotheby’s International Realty (the “Broker”), provided that

(a) the Sherry Netherland receive prior notice of any such visits and (b) the Sales Officer or the

Broker provide a copy of this Order to prospective buyers in advance of their visit; (xi) any

experts engaged by the Trustee and/or Genever (US) to investigate the condition of the Sherry

Netherland Apartment and/or the circumstances of the fire in the Sherry Netherland Apartment,

as accompanied by personnel of the Sherry Netherland; and (xii) any other person as directed

pursuant to an order issued by the United States District Court for the Southern District of New

York; provided, however, that any of the foregoing persons who access the Sherry Netherland

Apartment shall do so at his or her own risk and without any liability of the Sherry Netherland in

connection therewith; and it is further



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       ORDERED: Any of the foregoing persons who can only access the Sherry Netherland

Apartment as accompanied by Sherry Netherland personnel shall provide reasonable advance

notice to the Sherry Netherland of his or her request to access the Sherry Netherland Apartment.

This provision does not apply to any of the foregoing persons who are not required to be

accompanied by Sherry Netherland personnel; and it is further

       ORDERED: In order to facilitate the effectiveness of this order, the Sherry Netherland

is hereby directed to replace the locks, access codes and any other access devices for the Sherry

Netherland Apartment. The Sherry Netherland personnel shall hold the replacement keys, access

codes or other replacement access devices for the Sherry Netherland Apartment until further

order of the Court, and shall provide access to the Sherry Netherland Apartment to the persons

authorized under this Order.


               Dated at Bridgeport, Connecticut this 20th day of April, 2023.




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